  Case: 1:09-cv-01668 Document #: 787 Filed: 02/15/18 Page 1 of 4 PageID #:52335




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS


BONNIE FISH, CHRISTOPHER MINO,
MONICA LEE WOOSLEY, LYNDA D.
HARDMAN, and EVOLVE BANK &                                        No. 1:09-cv-01668
TRUST, an Arkansas bank and trust company,
                                                              Honorable Jorge L. Alonso
                              Plaintiffs,
                                                               Honorable Maria Valdez
       vs.

LEE MORGAN, ASHA MORGAN MORAN,
CHANDRA ATTIKEN, and MORGAN
FAMILY FOUNDATION,

                              Defendants.


             NOTICE OF INTENT TO DISTRIBUTE SETTLEMENT PROCEEDS

       Counsel for Plaintiffs Bonnie Fish, Christopher Mino, Monica Lee Woosley, Lynda

Hardman, and Evolve Bank & Trust (“Plaintiffs’ Counsel”) respectfully submit this Notice of

Intent to Distribute Settlement Proceeds (the “Notice”). Plaintiffs’ Counsel submits this Notice

consistent with the representation agreements under which Plaintiffs retained Plaintiffs’ Counsel

(the “Agreements”), Plaintiffs’ Counsel’s Petition for Award of Attorneys’ Fees and

Reimbursement of Costs (Docket No. 783) (the “Petition”), and this Court’s Order regarding the

Petition (Docket No. 786) (the “Order”).

       In its Order, the Court held it “lacks any power to tell plaintiffs or their counsel what to

do with the GreatBanc settlement proceeds.” Order at 3. The proceeds are $700,000, which

Plaintiffs’ Counsel currently holds in a trust account. Plaintiffs and Plaintiffs’ Counsel have

agreed on how they plan to distribute the proceeds, as reflected in the Agreements, the Petition,

and this Notice. Specifically, absent a Court Order to the contrary, Plaintiffs’ Counsel will
  Case: 1:09-cv-01668 Document #: 787 Filed: 02/15/18 Page 2 of 4 PageID #:52336




transfer all of the $700,000 out of the trust account and into Plaintiffs’ Counsel’s general law

firm bank accounts on or after March 15, 2018 to partially reimburse Plaintiffs’ Counsel for out

of pocket costs they advanced during the pendency of the litigation.

       This distribution plan is consistent with the Agreements, attached to the Petition as its

Exhibits A & B, which provide for any amounts recovered in the litigation to first go to

Plaintiffs’ Counsel to reimbursement them for cost advances. See Petition at 3, 5 (“Plaintiffs

agreed that the first dollar of any recovery would be applied to reimburse Counsel for cost

advances.”). Given that the Court has concluded that it lacks jurisdiction to make any ruling

regarding the proceeds, see Order at 3, Plaintiffs’ Counsel believes that proceeding with the

distribution in accordance with the terms of the Agreements is appropriate.

       Plaintiffs’ Counsel have discussed the plan of distribution and this Notice with each

client representative, specifically including Bonnie Fish, Christopher Mino, Monica Lee

Woosley, Lynda D. Hardman, and Evolve Bank & Trust, and each client representative has had

an opportunity to review this Notice. No client representative objects to the filing of this Notice,

which is consistent with each client’s representation agreement. See Petition at Exhibits A & B.

Dated: February 15, 2018                              Respectfully Submitted,

                                                      By: /s/ James A. Dyer
                                                      James A. Dyer
                                                      Toby K. Henderson
                                                      SEBALY SHILLITO + DYER
                                                      A Legal Professional Association
                                                      1900 Kettering Tower
                                                      40 North Main Street
                                                      Dayton, Ohio 45423
                                                      (937) 222-2500
                                                      (937) 222-6554 (fax)
                                                      jdyer@ssdlaw.com
                                                      thenderson@ssdlaw.com



                                                 2
Case: 1:09-cv-01668 Document #: 787 Filed: 02/15/18 Page 3 of 4 PageID #:52337




                                          KELLER ROHRBACK, LLP
                                          Gary A. Gotto
                                          3101 N. Central Avenue, Suite 1400
                                          Phoenix, Arizona 85012
                                          (602) 248-0088
                                          (602) 248-2822 (fax)
                                          ggotto@kellerrohrback.com

                                          David J. Ko
                                          1201 Third Avenue, Suite 3200
                                          Seattle, Washington 98109
                                          (206) 623-1900
                                          (206) 623-3884 (fax)
                                          dko@kellerrohnback.com


                                          GUIN STOKES & EVANS, LLC
                                          Charles R. Watkins
                                          321 South Plymouth Ct., Suite 1250
                                          Chicago, Illinois 60604
                                          (312) 878-8391
                                          cwatkins@gseattorneys.com

                                          Counsel for Plaintiffs




                                      3
  Case: 1:09-cv-01668 Document #: 787 Filed: 02/15/18 Page 4 of 4 PageID #:52338




                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 15TH day of February, 2018, the foregoing

pleading was filed electronically. Notice of this filing will be sent to all parties by operation of

the Court’s ECF system.



                                                       By: /s/ James A. Dyer




                                                  4
